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      Masters Tickets



             Masters® Golf Tournament And Ticket Policies
             Tickets are valid only for the date indicated on face of the Ticket. Augusta National,
             Inc. (ANI) reserves the right to suspend the Tournament or close the golf course
             because of adverse weather conditions or for other safety reasons. In such situations,
             no refunds, rain checks, exchanges or replacements will be made.


             The Ticket is a limited license, which may be revoked by ANI at any time with or
             without cause at the discretion of ANI.


             All ANI and Tournament policies, signs, verbal instructions of Tournament officials,
             and traditional customs of etiquette, proper attire, decorum and behavior must be
             observed at all times. Although cheering and positive patron responses to great play
             are encouraged, unsolicited or consistent calls from the gallery are prohibited.


             Protests of all types are forbidden.


             For the safety of everyone, and in keeping with policy established at major sporting
             events, running is considered to be unacceptable behavior.


             In fairness to a spectator's access and viewing, only one folding stool/seat will be
             allowed per person entering the grounds. Seats in the observation stands are not to
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             be reserved and stools/seats areuses
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                                                   to be unattended      for any inordinate length of
                                                           and similar technologies.

             time.
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             ANI is the only authorized source/seller of Tickets. Tickets may not be offered for sale,
             sold or rented through/to third party resellers including, but not limited to, ticket
             brokers, travel agents, hospitality entities or scalpers. The sale, resale or other
             transfer of Tickets for a value in excess of face value is prohibited by the Agreement
             and is also restricted by Georgia law, O.C.G.A. § 43-4B-25, et seq. Tickets may not be
             used for advertising or promotional purposes (such as prizes, raffles, auctions,
             contests, or sweepstakes). Tickets may not be sold, transferred, rented, or packaged
             in conjunction with any other thing of value, including hospitality services, home
             rental, or other products or services. Any Ticket obtained in contravention of these
             provisions will not be honored, and Holder shall be subject to the permanent loss of
             Tickets.


             The purchase of tickets does not entitle Ticket Purchaser to receive future
             Tournament tickets and no rights of renewal, expectation or property rights exist or
             should be implied.


             The Ticket Purchaser is responsible for explaining all provisions of the Ticket
             Agreement to any subsequent user or Holder of the Ticket ("Ticket Holder" or
             "Holder"), and is responsible for the conduct of any such Ticket Holder. A Ticket
             Holder is subject to all terms of the Ticket Agreement and ticket policies.


             By entering onto the grounds of ANI, Holder agrees to assume all risk and danger
             arising from attendance, including risks associated with COVID-19. Holder releases
             and holds harmless ANI, its affiliates, directors, officers, employees, volunteers,
             agents and all Tournament officials and participants, from any claims of liability,
             including claims based on their alleged negligence, arising from the Agreement or
             Holder's attendance at the Tournament, all as set forth in the Agreement.


             ANI and such third parties it may authorize are granted permission to use, without
             compensation, videotape, film, photographs or other images or likenesses of Ticket
             Purchaser and Holder.
                                                                                                                          
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                                might interest you. For more information see our Privacy Statement
             with cameras, videos, and/or audio devices or other means cannot be used for
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             broadcast, publication or any commercial purposes under any circumstances.


             For security and safety purposes, Ticket Purchaser and Holder consent to the
             reasonable inspection of his/her person and property, including electronic scanning,
             before entering and/or on the grounds. Refusal of such an inspection or possession of
             prohibited items will result in exclusion/removal from the Tournament and the
             grounds and Ticket Purchaser's permanent loss of the Ticket(s).


             For player safety and protection, there is a NO AUTOGRAPH POLICY enforced on the
             golf course during Practice and Tournament days. Autograph seeking is only allowed
             in areas adjacent to the Practice Range and on the Par 3 course during the Par 3
             Contest.


             Appropriate clothing/shoes should be worn at all times.


             PROHIBITED ITEMS
             *Electronic devices (Cell phones, Laptops, Tablets, Beepers, and other electronics),
             including devices with recording and/or transmission capability
             Radios/TVs/Noise or Music producing Devices/Two way or other talk radios
             **Cameras
             Weapons of any kind (regardless of permit)
             Chairs with pointed ends, Folding armchairs, or Rigid type chairs
             Flags/Banners/Signs
             Strollers
             Food, Beverage, or Coolers
             Golf Shoes with metal spikes
             Ladders, Periscopes or Selfie Sticks
             Backpacks, Bags, and Purses larger than 10” X 10” X 12” (in its natural state)


             * Devices such as fitness tracking band and electronic watches are permitted.
             However, the use of such devices for phone calls, emails, text messaging and other
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             photo, video or data recording and/or transmission is prohibited.
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             ** Cameras (still photography/personal use only) are allowed on Practice Round
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             days - Monday, Tuesday and Wednesday.


             Note: The Masters Tournament Committee may prohibit other items at its discretion.
             All items are subject to search.


             ELECTRONIC DEVICES (INCLUDING PHONES, LAPTOPS, TABLETS, AND BEEPERS) ARE STRICTLY
             PROHIBITED ON THE GROUNDS AT ALL TIMES. ANY DEVICE BEING USED TO RECORD AND/OR
             TRANSMIT VOICE, VIDEO, OR DATA IS STRICTLY PROHIBITED. CAMERAS ARE STRICTLY PROHIBITED
             ON TOURNAMENT DAYS.
             Any dispute or claim of any kind between any Holder, or any Holder’s executors,
             administrators, heirs, successors, assigns and any other person who could assert a
             claim by or through Holder, on the one hand, and any ANI Parties, on the other hand,
             relating to or arising out of this Agreement or the relationship of the parties created
             hereby or from attendance at the Tournament, whether sounding in tort, contract or
             otherwise ("Disputes"), shall be governed by the terms and provisions of this
             paragraph. Georgia law will govern any Disputes, the substance, interpretation and
             performance of this Agreement, and the relationship between such parties without
             giving effect to conflict of law principles. Disputes shall be brought exclusively in a
             court of appropriate jurisdiction located in Richmond County, Georgia, unless
             arbitrated as provided below. Any claim for damages within the jurisdictional amount
             of the Richmond County Civil & Magistrate Courts, 735 James Brown Blvd., Suite
             1400, Augusta, Georgia ("Small Claims Courts"), shall be brought exclusively in one of
             said courts. Any claim outside of the jurisdiction of the Small Claims Courts shall be
             resolved exclusively by arbitration under the Federal Arbitration Act, as amended, in
             accordance with the applicable rules of the American Arbitration Association, with the
             site of the arbitration to be within Richmond County, Georgia. No claim of any kind
             may be brought except by a party individually, and no claim may be aggregated in a
             class action or otherwise with claims of others. Holder waives the right to claim any
             form of punitive, exemplary, consequential, or indirect damages.


             FAILURE TO OBSERVE ANY OF THE TERMS OR PROVISIONS HEREOF OR ANY TOURNAMENT POLICIES
             MAY RESULT IN THE HOLDER’S REMOVAL OR EXCLUSION FROM THE TOURNAMENT AND THE
             ORIGINAL TICKET PURCHASER’S PERMANENT LOSS OF TICKETS.


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